UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SHAKUR YOUNG,                                                               ANSWER TO THE SECOND
                                                    Plaintiff,              AMENDED COMPLAINT
                                                                            ON BEHALF OF
                                                                            DEFENDANTS WARDEN
                              -against-                                     PRESSLEY, NYCDOC
                                                                            OFFICER CIELTO, JOSEPH
                                                                            PONTE, NEW YORK CITY
                                                                            HEALTH AND HOSPITALS
CITY OF NEW YORK; WARDEN PRESSLEY;
                                                                            CORPORATION, CAPTAIN
NYCDOC OFFICER CIELTO; JOSEPH PONTE; NEW
                                                                            ANDJELOVIC
YORK   CITY    HEALTH    AND    HOSPITALS
CORPORATION; CAPTAIN ANDJELOVIC,                                            18 CV 3316 (VEC) (BCM)
                                                Defendants.                 Jury Trial Demanded
----------------------------------------------------------------------- x

                 Defendants Warden Pressley, NYCDOC Officer Cielto, Joseph Ponte, New York

City Health and Hospitals Corporation, and Captain Andjelovic (“defendants”) by their attorney,

Zachary W. Carter, Corporation Counsel of the City of New York, as and for their answer to the

second amended complaint (“SAC”), respectfully allege, upon information and belief, as

follows:

                 1.       Deny the allegations set forth in paragraph “1” of the SAC, except admit

that plaintiff purports to proceed as stated therein, and further state that the allegations

concerning whether the defendants were acting “under the color of state law” is a legal

conclusion to which no response is required.

                 2.       Deny the allegations set forth in paragraph “2” of the SAC, except admit

that plaintiff purports to proceed, and invoke the jurisdiction of the Court, as stated therein.

                 3.       Deny the allegations set forth in paragraph “3” of the SAC, except admit

that plaintiff purports to invoke the jurisdiction of the Court as stated therein.
                4.          Deny the allegations set forth in paragraph “4” of the SAC, except admit

only that, on or about September 18, 2017, upon information and belief, plaintiff was

incarcerated at the Robert N. Davoren Center (“RNDC”) on Rikers Island.

                5.          Deny the allegations set forth in paragraph “5” of the SAC, except admit

that the City of New York is a municipal organization created under the laws of the State of New

York and that it maintains the New York City Department of Correction (“DOC”); defendants

further respectfully refer the Court to the New York City Charter and Administrative Code for a

recitation of the relationship between the City of New York and DOC.

                6.          Deny the allegations set forth in paragraph “6” of the SAC.

                7.          Deny the allegations set forth in paragraph “7” of the SAC.

                8.          Deny the allegations set forth in paragraph “8” of the SAC, except admit

that, on or about September 18, 2017, Ada Pressley was employed by the City of New York as

Warden of the Robert N. Davoren Center (“RNDC”).

                9.          Deny the allegations set forth in paragraph “9” of the SAC, except admit

that on or about September 18, 2017, Captain Andjelovic was employed by the City of New

York as a Correction Captain and was assigned shield number 1750.

                10.     Deny the allegations set forth in paragraph “10” of the SAC, except admit

that on or about September 18, 2017, Correction Officer Cielto was employed by the City of

New York as a Correction Officer and was assigned shield number 3731.

                11.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “11” of the SAC, except admit that Shakur Young is the

plaintiff in this matter.




                                                   -2-
               12.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “12” of the SAC, except admit, upon information and

belief, that on or about September 18, 2017, plaintiff claimed to have been exposed to oleoresin

capsicum spray (“OC”).

               13.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “13” of the SAC.

               14.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “14” of the SAC.

               15.    Deny the allegations set forth in paragraph “15” of the SAC.

               16.    Deny the allegations set forth in paragraph “16” of the SAC.

               17.    Deny the allegations set forth in paragraph “17” of the SAC.

               18.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “18” of the SAC.

               19.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “19” of the SAC.

               20.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “20” of the SAC.

               21.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “21” of the SAC.

               22.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “22” of the SAC.

               23.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “23” of the SAC.



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               24.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “24” of the SAC.

               25.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “25” of the SAC.

               26.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “26” of the SAC.

               27.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “27” of the SAC.

               28.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “28” of the SAC.

               29.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “29” of the SAC.

               30.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “30” of the SAC.

               31.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “31” of the SAC.

               32.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “32” of the SAC.

               33.        Paragraph “33” of the SAC does not contain an averment of fact to which

a response is required.

               34.        Deny the allegations set forth in paragraph “34” of the SAC.

               35.        Deny the allegations set forth in paragraph “35” of the SAC.




                                                 -4-
                 36.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “36” of the SAC.

                 37.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “37” of the SAC.

                 38.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “38” of the SAC.

                 39.     Deny the allegations set forth in paragraph “38(a)” 1 of the SAC except, to

the extent that paragraph “38(a)” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendants deny the

allegations.

                 40.     Deny the allegations set forth in paragraph “39” of the SAC.

                 41.     Deny the allegations set forth in paragraph “40” of the SAC.

                 42.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “41” of the SAC, except admit that plaintiff was taken to

the medical clinic.

                 43.     Deny the allegations set forth in paragraph “42” of the SAC.

                 44.     Deny the allegations set forth in paragraph “43” of the SAC.

                 45.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “44” of the SAC, except admit, upon information and

belief, that at approximately 12:20 p.m. on September 18, 2017, plaintiff arrived at the medical

clinic.




1
 Plaintiff’s SAC contains two consecutive paragraphs designated paragraph “38.” Accordingly, plaintiff’s second
paragraph “38” is designated herein as paragraph “38(a).”

                                                    -5-
               46.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “45” of the SAC.

               47.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “46” of the SAC.

               48.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “47” of the SAC.

               49.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “48” of the SAC.

               50.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “49” of the SAC.

               51.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “50” of the SAC.

               52.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “51” of the SAC.

               53.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “52” of the SAC.

               54.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “53” of the SAC.

               55.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “54” of the SAC.

               56.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “55” of the SAC.




                                              -6-
               57.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “56” of the SAC.

               58.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “57” of the SAC.

               59.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “58” of the SAC.

               60.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “59” of the SAC.

               61.    Deny the allegations set forth in paragraph “60” of the SAC.

               62.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “61” of the SAC.

               63.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “62” of the SAC.

               64.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “63” of the SAC.

               65.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “64” of the SAC.

               66.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “65” of the SAC.

               67.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “66” of the SAC.

               68.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “67” of the SAC.



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                69.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “68” of the SAC except, to the extent that paragraph

“68” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendants deny the allegations.

                70.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “69” of the SAC.

                71.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “70” of the SAC.

                72.     Deny the allegations set forth in paragraph “71” of the SAC.

                73.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “72” of the SAC.

                74.     Paragraph “73” of the SAC does not contain averments of fact to which a

response is required. To the extent that a response is required, defendants deny the allegations,

and respectfully refer the Court to the document referenced therein for a recitation of its

complete contents.

                75.     In response to the allegations set forth in paragraph “74” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                76.     Deny the allegations set forth in paragraph “75” of the SAC.

                77.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “76” of the SAC.

                78.     Deny the allegations set forth in paragraph “77” of the SAC.




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                 79.     Paragraph “78” of the SAC does not contain averments of fact to which a

response is required. To the extent that a response is required, defendants deny the allegations.

                 80.     Deny the allegations set forth in paragraph “79” of the SAC except, to the

extent that paragraph “79” contains conclusions of law rather than averments of fact, no response

thereto is required. To the extent that a response is required, defendants deny the allegations.

                 81.     Deny the allegations set forth in paragraph “79(a)” 2 of the SAC.

                 82.     Deny the allegations set forth in paragraph “80” of the SAC.

                 83.     Deny the allegations set forth in paragraph “81” of the SAC.

                 84.     Deny the allegations set forth in paragraph “82” of the SAC.

                 85.     Deny the allegations set forth in paragraph “82(a)” 3 of the SAC.

                 86.     Deny the allegations set forth in paragraph “83” of the SAC.

                 87.     Deny the allegations set forth in paragraph “84” of the SAC.

                 88.     In response to the allegations set forth in paragraph “85” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                 89.     Deny the allegations set forth in paragraph “86” of the SAC.

                 90.     In response to the allegations set forth in paragraph “87” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                 91.     Deny the allegations set forth in paragraph “88” of the SAC.



2
 Plaintiff’s SAC contains two consecutive paragraphs designated paragraph “79.” Accordingly, plaintiff’s second
paragraph “79” is designated herein as paragraph “79(a).”
3
 Plaintiff’s SAC contains two consecutive paragraphs designated paragraph “82.” Accordingly, plaintiff’s second
paragraph “82” is designated herein as paragraph “82(a).”

                                                    -9-
                92.     In response to the allegations set forth in paragraph “89” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                93.     Deny the allegations set forth in paragraph “90” of the SAC.

                94.     In response to the allegations set forth in paragraph “91” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                95.     Deny the allegations set forth in paragraph “92” of the SAC, except admit

that Joseph Ponte was employed by the City of New York as the Commissioner of the DOC,

Brian Suprenant was employed by the City of New York as the DOC Bureau Chief of Security,

Ada Pressley was employed by the City of New York as Warden of RNDC, Captain Andjelovic

was employed by the City of New York as a Correction Captain and was assigned shield number

1750, and Officer Cielto was employed by the City of New York as a Correction Officer and was

assigned shield number 3731.

                96.     Deny the allegations set forth in paragraph “93” of the SAC.

                97.     Deny the allegations set forth in paragraph “94” of the SAC.

                98.     Deny the allegations set forth in paragraph “95” of the SAC.

                99.     Deny the allegations set forth in paragraph “96” of the SAC.

                100.    In response to the allegations set forth in paragraph “97” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                101.    Deny the allegations set forth in paragraph “98” of the SAC.




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                102.    In response to the allegations set forth in paragraph “99” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                103.    Deny the allegations set forth in paragraph “100” of the SAC.

                104.    Deny the allegations set forth in paragraph “101” of the SAC.

                105.    In response to the allegations set forth in paragraph “102” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                106.    Deny the allegations set forth in paragraph “103” of the SAC.

                107.    In response to the allegations set forth in paragraph “104” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                108.    Deny the allegations set forth in paragraph “105” of the SAC.

                109.    In response to the allegations set forth in paragraph “106” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                110.    Deny the allegations set forth in paragraph “107” of the SAC, except

admit that plaintiff purports to seek relief as stated therein. Further, to the extent that paragraph

“107” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendants deny the allegations.

                111.    In response to the allegations set forth in paragraph “108” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.



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                112.    Deny the allegations set forth in paragraph “109” of the SAC, except state

that the allegations concerning whether the defendants were “acting within the scope of their

employment” is a conclusion of law to which no response is required.

                113.    Deny the allegations set forth in paragraph “110” of the SAC.

                114.    In response to the allegations set forth in paragraph “111” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                115.    Deny the allegations set forth in paragraph “112” of the SAC.

                116.    In response to the allegations set forth in paragraph “113” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                117.    Deny the allegations set forth in paragraph “114” of the SAC except, to

the extent that paragraph “114” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendants deny the

allegations.

                118.    Deny the allegations set forth in paragraph “115” of the SAC except, to

the extent that paragraph “115” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendants deny the

allegations.

                119.    Deny the allegations set forth in paragraph “116” of the SAC.

                120.    In response to the allegations set forth in paragraph “117” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.



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                121.    Deny the allegations set forth in paragraph “118” of the SAC, except

admit that plaintiff purports to seek relief as stated therein. Further, to the extent that paragraph

“118” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendants deny the allegations.

                122.    In response to the allegations set forth in paragraph “119” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                123.    Deny the allegations set forth in paragraph “120” of the SAC, except

states that the allegations concerning whether the defendant was “acting within the scope of his

employment” is a conclusion of law to which no response is required.

                124.    Deny the allegations set forth in paragraph “121” of the SAC, except

admit that plaintiff purports to seek relief as stated therein. Further, to the extent that paragraph

“121” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendants deny the allegations.

                125.    In response to the allegations set forth in paragraph “122” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                126.    Deny the allegations set forth in paragraph “123” of the SAC except, to

the extent that paragraph “123” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendants deny the

allegations.

                127.    Deny the allegations set forth in paragraph “124” of the SAC.




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                128.    In response to the allegations set forth in paragraph “125” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                129.    Deny the allegations set forth in paragraph “126” of the SAC.

                130.    Deny the allegations set forth in paragraph “127” of the SAC.

                131.    In response to the allegations set forth in paragraph “128” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                132.    Deny the allegations set forth in paragraph “129” of the SAC.

                133.    Deny the allegations set forth in paragraph “130” of the SAC, and

respectfully refer the Court to the sources cited therein for an accurate recitation of the

information contained therein.

                134.    In response to the allegations set forth in paragraph “131” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                135.    Deny the allegations set forth in paragraph “132” of the SAC, except

admit that on September 18, 2017, Captain Andjelovic was employed by the City of New York

as a Correction Captain and was assigned shield number 1750, and Officer Cielto was employed

by the City of New York as a Correction Officer and was assigned shield number 3731, and

further state that the allegation concerning whether the defendants were acting within the scope

of their employment is a conclusion of law to which no response is required.

                136.    Deny the allegations set forth in paragraph “133” of the SAC except, to

the extent that paragraph “133” contains conclusions of law rather than averments of fact, no



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response thereto is required. To the extent that a response is required, defendants deny the

allegations.

                137.    Deny the allegations set forth in paragraph “134” of the SAC.

                138.    Paragraph “135” of the SAC does not contain averments of fact to which a

response is required. To the extent that a response is required, defendants deny the allegations.

                139.    In response to the allegations set forth in paragraph “136” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                140.    Deny the allegations set forth in paragraph “137” of the SAC.

                141.    Deny the allegations set forth in paragraph “138” of the SAC, and

respectfully refer the Court to the sources cited therein for an accurate recitation of the

information contained therein.

                142.    Deny the allegations set forth in paragraph “139” of the SAC.

                143.    Deny the allegations set forth in paragraph “140” of the SAC except, to

the extent that paragraph “140” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendants deny the

allegations.

                144.    In response to the allegations set forth in paragraph “141” of the SAC,

defendants repeat and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                145.    Deny the allegations set forth in paragraph “142” of the SAC, and

respectfully refer the Court to N.Y. GEN. MUN. LAW § 50-k for a recitation of the circumstances

in which employees of the City of New York will be indemnified in judgments.



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                146.    Deny the allegations set forth in paragraph “143” of the SAC, and

respectfully refer the Court to N.Y. GEN. MUN. LAW § 50-k for a recitation of the circumstances

in which employees of the City of New York will be indemnified in judgments.

                              FIRST AFFIRMATIVE DEFENSE:

                147.    The complaint fails to state a claim upon which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE:

                148.    Defendants have not violated any rights, privileges or immunities under

the Constitution or laws of the united States or the State of New York or any political

subdivision thereof, nor have the defendants violated any act of Congress providing for the

protection of civil rights.

                                  THIRD AFFIRMATIVE DEFENSE:

                149.    At all times relevant to the acts alleged in the complaint, defendants acted

reasonable in the proper and lawful exercise of their discretion.         Therefore, the individual

defendants are entitled to immunity on the state law claims.

                                 FOURTH AFFIRMATIVE DEFENSE:

                150.    The individual defendants have not violated any clearly established

constitutional or statutory right of which a reasonable person would have known and therefore

are protected by qualified immunity.

                                  FIFTH AFFIRMATIVE DEFENSE:

                151.    Plaintiff’s claims are barred, in whole or in part, by 42 U.S.C. §§ 1997e.




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                                  SIXTH AFFIRMATIVE DEFENSE:

                152.       To the extent that the complaint alleges any claims arising under New

York State law, such claims are barred, in whole or in part, by reason of plaintiff’s failure to

comply with the requirements of the N.Y. GEN. MUN. LAW § 50-(e), (h) and/or (i).

                                   SEVENTH AFFIRMATIVE DEFENSE:

                153.       Plaintiff initiated any incident.

                                    EIGHTH AFFIRMATIVE DEFENSE:

                154.       Plaintiff failed to mitigate his damages.

                                     NINTH AFFIRMATIVE DEFENSE:

                155.       Plaintiff cannot recover damages from alleged emotional injury under the

PLRA because there is no showing of physical injury.

                                   TENTH AFFIRMATIVE DEFENSE:

                156.       Plaintiff’s claims may be barred, in whole or in part, by the applicable

statutes of limitations.

                                  ELEVENTH AFFIRMATIVE DEFENSE:

                157.       Any injury alleged to have been sustained resulted from plaintiff’s own

culpable or negligent conduct or the conduct of a third party and was not the proximate result of

any act of defendants.

                                   TWELFTH AFFIRMATIVE DEFENSE:

                158.       The New York City Health and Hospitals Corporation is a non-suable

entity.




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                               THIRTEENTH AFFIRMATIVE DEFENSE:

               159.   Defendants Joseph Ponte and Warden Pressley had no personal

involvement in the incident.

               WHEREFORE, defendants Warden Pressley, NYCDOC Officer Cielto, Joseph

Ponte, New York City Health and Hospitals Corporation, and Captain Andjelovic request

judgment dismissing the complaint in its entirety, together with the costs and disbursements of

this action, and such other and further relief as the Court may deem just and proper.


Dated:         New York, New York
               February 26, 2019


                                                       ZACHARY W. CARTER
                                                       Corporation Counsel
                                                              of the City of New York
                                                       Attorney for Defendants Warden Pressley,
                                                       NYCDOC Officer Cielto, Joseph Ponte, New
                                                       York City Health and Hospitals
                                                       Corporation, and Captain Andjelovic
                                                       100 Church Street, Rm. 3-219
                                                       New York, New York 10007
                                                       (212) 356-2375
                                                       nakshah@law.nyc.gov

                                                       By:            /s/
                                                             ___________________________
                                                             NAKUL Y. SHAH
                                                             Assistant Corporation Counsel
                                                             Special Federal Litigation Division



cc:      Shakur Young, DIN 17-R-3045, Plaintiff Pro Se
         Greene Correctional Facility
         P.O. Box 975
         Coxsackie, NY 12051-0975 (by First-Class Mail)




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Docket No. 18 CV 3316 (VEC) (BCM)
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SHAKUR YOUNG,

                                                            Plaintiff,

                                    -against-

CITY OF NEW YORK; WARDEN PRESSLEY;
NYCDOC OFFICER CIELTO; JOSEPH PONTE; NEW
YORK   CITY   HEALTH     AND   HOSPITALS
CORPORATION; CAPTAIN ANJELOVIC,


                                                       Defendants.


    ANSWER TO THE SECOND AMENDED
  COMPLAINT ON BEHALF OF DEFENDANTS
   WARDEN PRESSLEY, NYCDOC OFFICER
  CIELTO, JOSEPH PONTE, NEW YORK CITY
  HEALTH AND HOSPITALS CORPORATION,
        AND CAPTAIN ANDJELOVIC


               ZACHARY W. CARTER
     Corporation Counsel of the City of New York
 Attorney for Defendants Warden Pressley, NYCDOC
Officer Cielto, Joseph Ponte, New York City Health and
    Hospitals Corporation, and Captain Andjelovic
                   100 Church Street
              New York, New York 10007

                     Of Counsel: Nakul Y. Shah
                        Tel: (212) 356-2375

Due and timely service is hereby admitted.

New York, New York. ............................................, 2019

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